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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF ARKANSAS
                              DELTA DIVISION

EDWARD D. SCHULER                                                             PLAINTIFF
ADC #140938

v.                        CASE NO. 2:20-CV-00194-BSM

WESTBROOK, et al.                                                          DEFENDANTS

                                         ORDER

       The proposed findings and recommendations (“RD”) from United States Magistrate

Judge Beth Deere [Doc. No. 4] has been received. After reviewing the record de novo, the

RD is adopted. Edward Schuler’s motion to correct [Doc. No. 3] is granted, and this case is

dismissed without prejudice.

       The clerk is directed to file Schuler’s complaint, Doc. No. 1, as an amended complaint

in Schuler v. Westbrook, et al., case number 2:20-cv-192-LPR.

       IT IS SO ORDERED this 5th day of November, 2020.



                                                    UNITED STATES DISTRICT JUDGE
